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 Fill in this information to identify your case:

 Debtor 1                  Ian B. Minor
                           First Name                       Middle Name               Last Name

 Debtor 2                  Nicole L. Minor
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Carrington Mortgage Services, LLC                     Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of 9503 Sea Shadow Columbia,                                 Reaffirmation Agreement.
    property       MD 21046 Howard County                                    Retain the property and [explain]:
    securing debt: per appraisal of $327,000 dated
                   5/17, less 8% for costs and                              Debtor will retain collateral and continue
                   expenses of sale                                        to make payments



    Creditor's         Ford Motor Credit                                     Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of        2018 Ford Explorer 16000 miles                     Reaffirmation Agreement.
    property              per Kelley Blue Book                               Retain the property and [explain]:
    securing debt:



    Creditor's         Ocwen Loan Servicing, LLC                             Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of        8715 Hayshed Lane, #22                             Reaffirmation Agreement.

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 Debtor 1      Ian B. Minor
 Debtor 2      Nicole L. Minor                                                                        Case number (if known)


    property            Columbia, MD 21046 Howard                           Retain the property and [explain]:
    securing debt:      County
                        Value per broker price opinion
                        without deduction for cost and
                        expenses of sale


    Creditor's     Suntrust Bank payoffs                                    Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2016 Ford Fusion 45000 miles                        Reaffirmation Agreement.
    property            per Kelley Blue Book                                Retain the property and [explain]:
    securing debt:



    Creditor's     Wells Fargo Home Mortgage                                Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      8715 Hayshed Lane, #22                              Reaffirmation Agreement.
    property            Columbia, MD 21046 Howard                           Retain the property and [explain]:
    securing debt:      County
                        Value per broker price opinion
                        without deduction for cost and
                        expenses of sale

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Ian B. Minor
 Debtor 2      Nicole L. Minor                                                                       Case number (if known)



 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Ian B. Minor                                                             X /s/ Nicole L. Minor
       Ian B. Minor                                                                    Nicole L. Minor
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        April 8, 2019                                                    Date    April 8, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 3

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